Case: 1:09-cv-02057 Document #: 154 Filed: 01/06/12 Page 1 of 2 PagelD #:1639

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

 

CE DESIGN LTD., PALDO SIGN AND
DISPLAY COMPANY, and ADDISON
AUTOMATICS, INC., lHnois corporations,
Individually and as the representatives of a
Class of similarly situated persons, Case No. 09-CV-2057
Magistrate Judge Schenkier
Plaintiffs,

Vv.

KING SUPPLY COMPANY, LLC d/b/a
ARCHITECTURAL METALS,

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Defendant. )
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VALLEY FORGE INSURANCE COMPANY, NATIONAL FIRE INSURANCE
COMPANY OF HARTFORD AND CONTINENTAL CASUALTY COMPANY?’S
MOTION TO INTERVENE AND STAY

COME NOW proposed Intervenors, Valley Forge Insurance Company, National Fire
Insurance Company of Hartford and Continental Casualty Company, upon the accompanying
Memorandum of Law, and the prior pleadings and proceedings, by and through counsel, and
respectfully move this Court for an order granting them leave to intervene under Rule 24 of the
Federal Rules of Civil Procedure and to stay this action pending resolution of a related liti gation,

Respectfully submitted,

COLLIAU ELENIUS MURPHY
CARLUCCIO KEENER & MORROW

s/David E. Trainor

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NATIONAL FIRE INSURANCE COMPANY OF HARTFORD, AND
CONTINENTAL CASUALTY COMPANY

Dated: January 3, 2012

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